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17 Co-Lead Counsel for Settlement Class
18                     UNITED STATES DISTRICT COURT FOR THE
                          CENTRAL DISTRICT OF CALIFORNIA
19                              SANTA ANA DIVISION
20   IN RE: VIZIO, INC., CONSUMER         Case No. 8:16-ml-02693- JLS (KESx)
     PRIVACY LITIGATION
21                                        PLAINTIFFS’ NOTICE OF MOTION AND
     This document relates to:            MOTION FOR ATTORNEYS’ FEES,
22                                        COSTS, AND SERVICE AWARDS
23   ALL ACTIONS                          (UNOPPOSED)
24                                        Date:      May 31, 2019
25                                        Time:      10:30 a.m.
                                          Dept:      Courtroom 10-A
26
                                          Judge:     Hon. Josephine L. Staton
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      NOTICE OF MOTION AND MOTION FOR ATTORNEYS’ FEES, COSTS, AND
                           SERVICE AWARDS
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 1   To All Parties and Their Counsel of Record:
 2         Please Take Notice that on May 31, 2019, at 10:30 a.m., or as soon thereafter as
 3   the matter may be heard before the Honorable Josephine L. Staton, United States
 4   District Judge for the Central District of California, at the Ronald Reagan Federal
 5   Building and United States Courthouse, 411 W. Fourth St., Santa Ana, CA, 92701,
 6   Courtroom 10A, 10th Floor, Plaintiffs Dieisha Hodges, Rory Zufolo, John Walsh, Chris
 7   Rizzitello, Linda Thomson, and Mark Queenan, will and hereby do move the Court,
 8   under Federal Rule of Civil Procedure 23(h), for an Order:
 9         A.     Awarding attorneys’ fees to Class Counsel in the amount of $5,610,000, based
10 on an award of less than 25 percent of the combined value of the monetary and
11 nonmonetary benefits that the settlement confers.
12         B.     Reimbursing Class Counsel for litigation costs in the amount of $181,808.59,
13 because such costs are adequately documented and reasonable.
14         C.     Reimbursing Class Counsel for settlement administration expenses in the
15 amount of $122,830.65, because such expenses are adequately documented and reasonable.
16         D.     Awarding service payments to Plaintiffs Hodges, Zufolo, Walsh, Rizzitello,
17 Thomson, and Queenan in the amount of $5,000 each, because such awards are
18 appropriate under these circumstances.
19         This motion is unopposed and based on this notice of motion and motion, the
20 accompanying memorandum of points and authorities, and the following declarations:
21         1.     Joint Declaration of Adam J. Zapala and Andre M. Mura as Class Counsel
22 and exhibits thereto;
23         2.     Declarations of Plaintiffs Hodges, Zufolo, Walsh, Rizzitello, Thomson, and
24 Queenan, attesting to their respective contributions to this case;
25         3.     The report of Serge Egelman, professor at the University of California,
26 Berkeley, addressing the value of non-monetary benefits to the class;
27         4.     And all papers and records on file in this matter, and such other matters as
28 the Court may consider.


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                          SERVICE AWARDS
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 1         An agreed-upon proposed order is also being filed contemporaneously.
 2
 3         For the reasons set forth in these materials, the unopposed motion for attorneys’
 4 fees, costs, and class representative service awards should be granted.
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 6                                          Respectfully submitted,
 7                                          GIBBS LAW GROUP LLP
 8
                                            /s/ Andre M. Mura
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     NOTICE OF MOTION AND MOTION FOR ATTORNEYS’ FEES, COSTS, AND
                          SERVICE AWARDS
